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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 BREE MCCLESKEY,                            §
                Plaintiff,                  §
 v.                                         §
                                            §
 TOLTECA ENTERPRISES, INC.,                 §       No. 1:20-cv-166-ML
                Defendant.                  §



                            ORDER RESETTING HEARING

       On August 18, 2020, Defendant filed its Unopposed Motion to Reset the Status

Conference. Dkt. #19. The court hereby GRANTS Defendant’s Motion (Dkt. #19) and

CANCELS the status hearing set on August 24, 2020. The court RESETS the status hearing for

1:00 p.m. on Tuesday, August 25, 2020.




        SIGNED August 20, 2020.


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                                                MARK LANE
                                                UNITED STATES MAGISTRATE JUDGE
